




Becker v. State



COURT OF APPEALS


EIGHTH DISTRICT OF TEXAS


EL PASO, TEXAS



)
	

LUIS FERNANDO PRADO,)
		     No.  08-02-00295-CR

)


			Appellant,)
			 Appeal from

)
	

v.)
		Criminal District Court No. 3

)


THE STATE OF TEXAS,)
		     of Dallas County, Texas

)


			Appellee.)
		        (TC# F-9839497-RJ)


MEMORANDUM OPINION



	Luis Fernando Prado appeals his conviction for possession of more than one gram but less
than four grams of cocaine, enhanced by two prior felony convictions.  Appellant waived his right
to a jury trial and entered an open plea of guilty.  The trial court deferred an adjudication of guilt and
placed Appellant on community supervision for ten years.  On the State's motion, the trial court later
adjudicated Appellant's guilt and assessed his punishment at imprisonment for a term of thirty years. 
We affirm.

	Appellant's court-appointed counsel has filed a brief in which he has concluded that the
appeal is wholly frivolous and without merit.  The brief meets the requirements of Anders v.
California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493, reh. denied, 388 U.S. 924, 87 S.Ct. 2094,
18 L.Ed.2d 1377 (1967), by presenting a professional evaluation of the record demonstrating why,
in effect, there are no arguable grounds to be advanced.  See High v. State, 573 S.W.2d 807
(Tex.Crim.App. 1978); Currie v. State, 516 S.W.2d 684 (Tex.Crim.App. 1974); Jackson v. State,
485 S.W.2d 553 (Tex.Crim.App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex.Crim.App. 1969). 
A copy of counsel's brief has been delivered to Appellant, and Appellant has been advised of his
right to examine the appellate record and file a pro se brief.  Appellant has filed a pro se brief raising
issues related to the original guilty plea and adjudication proceedings.  

	We have carefully reviewed the record, counsel's brief and the pro se brief, and agree that
the appeal is wholly frivolous and without merit.  Further, we find nothing in the record that might
arguably support the appeal.  A discussion of the grounds advanced in the pro se brief would add
nothing to the jurisprudence of the state.  The judgment is affirmed.



March 20, 2003					                                                                         

							ANN CRAWFORD McCLURE, Justice


Before Panel No. 2

Barajas, C.J., McClure, and Chew, JJ.


(Do Not Publish)


